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February 1, 2020

The Honorable Esther Salas, U.S.D.J.
MLK Jr. Federal Building

50 Walnut Street

Newark, N.J. 07101

RE: Fuller v. Insys Therapeutics, Inc., et al
2:17-cv-07877-ES-SCM

Dear Judge Salas,

On January 31, 2020 Plaintiffs forwarded a letter requesting the Court’s permission
to file a brief, supplemental response to Rochester Drug Cooperative, Inc.’s (“RDC”)
Motion to Dismiss. Plaintiffs intentionally did not attempt to supplement the record
with additional evidence until your Honor granted permission to file a supplemental
response. However, Mr. Viola’s letter of January 31, 2020 contains material
misrepresentations of fact that cannot go unchallenged.

Attached hereto is a document Plaintiffs received within the last week confirming
that in 2015 and 2016 RDC’s entire criminal Subsys distribution scheme was being
run out of Fairfield, New Jersey. Mr. Viola was provided with this document and
was aware of its content, yet still represents to this court that “RDC and Lindencare
are both out of state, New York entities who engaged in a New York to New York
transaction, the only consideration given to a personal jurisdiction
determination.” Pursuant to Rule 11, Mr. Viola should be sanctioned for his
dishonest and frivolous argument that RDC did not have any contacts with New
Jersey and that it did not conduct business in New Jersey.
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This statement to the Court is illustrative of the very type of obstruction and
misrepresentation Plaintiffs have encountered at every stage of our four-year search
for the truth in this case. I can definitively represent to the Court that Michael Babich,
former CEO of Insys, testified under oath on January 27, 2020 that RDC was an
essential co-conspirator in the illegal, fraudulent scheme to distribute Subsys in the
state of New Jersey along with Linden Care pharmacy. Plaintiffs have uncovered
further documentation which establishes that RDC was essentially the sole
distributor of Subsys to Linden Care, the pharmacy that filled and dispensed
decedent’s Subys prescriptions in 2015-2016. There is other new evidence which
bears directly on the issues raised in RDC’s Motion to Dismiss and Plaintiffs ask
this Court for an opportunity to bring all these newly discovered facts to the attention
of the Court before this dispositive motion is decided.

Respectfully submitted,

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Message

From: Darryl Baker [dbaker@insysrx.com]

Sent: 8/11/2015 6:51:10 PM

To: John Kapoor (JKapoor @ejfinancial.com) [jkapoor@ejfinancial.com]

cc: Dion Reimer [dreimer@insysrx.com]; Michael Babich [mbabich@insysrx.com]; Sean Hammond
[shammond @insysrx.com]; Steven Harper [sharper@insysrx.com]

Subject: RDC site visit

Dr. Kapoor,

Dion and | paid a site visit to RDC earlier today. We met with the following:

Larry Doud — CEO

Joe Brennan — COO

Kim Perry — CFO

Ed Kirker — Director of Inventory Management
Chris Masseth — Manager of Trade

Larry has led RDC for 24 years.

| first provided an overview of the Insys story, with particular emphasis on the pipeline product opportunities. Larry
then walked us through the history of RDC, which was formed in 1905 and has focused their service on independent
pharmacies in the northeast since inception. They have grown rapidly in the past 10 years, and for their fiscal year-end
3/31/15 reported gross revenue in excess of $2 billion. Larry indicated RDC is currently the sixth largest wholesaler in
the country. As a cooperative, they are owned by the member pharmacies. They paid $31 million in dividends to
cooperative members last year, with approximately $2 million going to Linden Care. Insys sold $128 million to RDC
during their last fiscal year, which represented 6.5% of RDC COGS during that period. RDC has a line of credit agreement
in the amount of $185 million with M&T Bank. They had $67 million drawn against that line as of 3/31/15, so they have
ample borrowing capacity. RDC has always been timely in its payments to Insys.

We took a tour of their 55k square foot warehouse facility in Rochester and discussed their new warehouse facility,
which is approximately 110k square feet, located in Fairfield, NJ. This new location will allow them to provide more
responsive service to the New York, NY metropolitan area. It is RDC’s intention to transition the Subsys business from
New York to New Jersey. We discussed the potential state income tax nexus implications of our shipping directly to New
Jersey vs. to New York, as we have historically done. We will have Andersen Tax evaluate the state income tax
apportionment implications in connection with this proposed operational change.

Having now personally met the key management team of RDC, | come away from this visit with increased confidence in
RDC’s ability to continue to provide responsive service to Subsys patients and that the credit risk Insys has taken on in
regards to this account is justified and supported. On a go-forward basis, | intend to have quarterly calls with Kim Perry
to review and discuss the account and the business relationship.

Please let me know if you have any questions or would like to discuss the RDC business.

Darryl

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